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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 CARMEN GARCIA-HERNANDEZ
 Plaintiff
 vs                                       CIVIL 12-1833CCC
 GC SERVICES LIMITED
 PARTNERSHIP COLLECTION
 AGENCY DIVISION; VERONICA
 ROMERO; JOHN DOE; JOSEPH
 LOE; RICHARD ROE; INSURANCE
 COMPANIES X,Y,Z
 Defendants


                                 JUDGMENT

      Having considered the Voluntary Dismissal filed by plaintiff on
February 4, 2015 (docket entry 53), the same is GRANTED. Accordingly, it
is ORDERED and ADJUDGED that this action be and is hereby DISMISSED,
with prejudice, and without the imposition of costs or attorney’s fees.
      The pretrial/settlement conference scheduled for April 23, 2015 and jury
trial scheduled for July 28, 2015 are, therefore, VACATED.
      SO ORDERED AND ADJUDGED.
      At San Juan, Puerto Rico, on February 20, 2015.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
